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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

 

EASTERN DIVISION

JAMES DONALD HAYNES,

Plaintiff,
VS. No. 04-1281-T/An
HENRY COUNTY et al.,

Defendants.

ORDER OF DISMISSAL
AND

ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH

 

Plaintiff J ames Donald Haynes, prison registration number 37163 l, an inmate at the
West Tennessee State Prison, who was formerly incarcerated at the Henry County Jail (HCJ)
in Paris, Tennessee, filed this complaint under 42 U.S.C. § 1983 and paid the filing fee.
I. ANALYSIS OF PLAINTIFF‘S CLAIMS

Plaintiff sues Henry County,1 Henry County SheriffDavid Bumpus, HCJ employees
Lieutenant Gary Dicus and Nurse Practitioner Lynn Dicus, and Dr. Terry Harrison for
“rnedical neglect/malpractice.” Plaintiff alleges that, while he was incarcerated at the HCJ
in September of 2003, he complained of chest pain and was taken to the Henry County
Clinic, where an EKG was performed and a chest x-ray taken. Plaintiff alleges that, upon
his return to the HCJ, defendant Nurse Practitioner Dicus told him that his “heart look[ed]
good.” On some unspecified date, Haynes was transferred to the Middle Tennessee Mental

Health Facility (MTMHF) where he suffered a heart attack on Novembei' 2, 2003.

 

1 Plaintiff named the HCJ as a defendant The Jail is not a suable entity. Therefore the Court construes

the complaint to name Henry County as the defendant D Hafer v. Melo, 502 U.S. (1991).

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with Rule 58 and.’or,?Q (a) FRCP on S 2 l 5 3

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On November 25, 2003, Haynes was transported back to the HCJ where he was
required to take medication on an empty stomach, resulting in severe stomach pains. He
alleges that, when defendant Lieutenant Dicus was told about his pain, Dicus told him to lie
down on the bed. He alleges that he continued to suffer from chest pain until December 28,
2003, at which time he partially lost consciousness He alleges that, the following day,
defendant Dicus helped him to a vehicle and he was taken to the Henry County Clinic where
an EKG was perfonned. Haynes alleges that he received no medication.

Haynes alleges that, approximately one month later, he was transferred to the West
Tennessee State Prison, where he received medical evaluation and was told he was suffering
from pneumonia He was later transferred to the Whiteville Correctional Facility, where he
was told he had previously suffered two heart attacks. Plaintiff alleges that defendant Dr.
Harrison reviewed his EKGS and defendant Nurse Practitioner Dicus works with defendant
Harrison, as well as at the HCJ on Tuesday nights.

Haynes was required to have exhausted his administrative remedies on all claims
presented before filing. Freeman v. Francis, 196 F.3d 641, 645 (6th Cir. 1999). Forty-two
U.S.C. § 1997e(a) requires a federal court to dismiss without prejudice whenever a prisoner
brings a prison conditions claim without demonstrating that he has exhausted his
administrative remedies. Brown v. Toombs, 139 F.3d 1102 (6th Cir. 1998).

Haynes alleges that the HCJ had no grievance procedure To the extent that
allegation is insufficient to demonstrate that he totally exhausted his administrative remedies
for these claims, 28 U.S.C. 1997e(c)(2) provides that a court may dismiss a frivolous claims
or claims which fail to state a claim upon which relief may be granted:

In the event that a claim is, on its face, frivolous, malicious, fails to state a

claim upon which relief can be granted, or seeks monetary relief from a

defendant who is immune from such relief, the Court may dismiss the

underlying claim without first requiring the exhaustion of administrative

remedles.

42 U.s.c. § 1997e(c)(2).

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The Eighth Amendment prohibits cruel and unusual punishment See generally

Wilson v. Seiter, 501 U.S. 294 (1991). Under the Supreme Court decision of Estelle v.
Gamble, 429 U.S. 97, 104 (1976), “deliberate indifference to serious medical needs of

 

prisoners constitutes the ‘unnecessary and wanton infliction ofpain,’ proscribed by the
Eighth Amendment.” However, not “every claim by a prisoner that he has not received

adequate medical treatment states a violation of the Eighth Amendment.” Estelle, 429 U.S.

 

at 105. “In order to state a cognizable claim, a prisoner must allege acts or omissions
sufficiently harmful to evidence deliberate indifference to serious medical needs. It is only
such indifference that can offend ‘evolving standards of decency’ in violation of the Eighth
Amendment.” g

An Eighth Amendment claim consists of objective and subjective components
Farmer v. Brennan, 511 U.S. 825, 834 (1994); Hudson v. McMillian, 503 U.S. 1, 8 (1992);
M, 501 U.S. at 298; Brooks v. Celeste, 39 F.3d 125, 127-28 (6th Cir. 1994); Hu_ntv_.
Remolds, 974 F.Zd 734, 735 (6th Cir. 1992). The objective component requires that the
deprivation be "sufficiently serious." Farmer, 511 U.S. at 834; Hudson, 503 U.S. at 8;

 

 

Wilson, 501 U.S. at 298. The subjective component requires that the official act with the

 

requisite intent, that is, that he have a "sufficiently culpable state of mind." Farmer, 51 1 U. S.
at 834; Wilson, 501 U.S. at 297, 302-03. The official's intent must rise at least to the level
of deliberate indifference Farmer, 511 U.S. at 834; Wilson, 501 U.S. at 303.

 

 

 

To make out a claim of an Eighth Amendment Estelle violation, a prisoner mustplead

 

facts showing that “prison authorities have denied reasonable requests for medical treatment
in the face of an obvious need for such attention where the inmate is thereby exposed to
undue suffering or the threat of tangible residual injury." Westlake v. Lucas, 537 F.2d 857,
860 (6th Cir. 1976). The Court clarified the meaning of deliberate indifference in w
v. Brennan, as the reckless disregard of a substantial risk of serious harm; mere negligence

will not suffice. I_d. 511 U.S. at 835-36. Consequently, allegations of medical malpractice

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or negligent diagnosis and treatment fail to state an Eighth Amendment claim of cruel and

unusual punishment _S__e§ Estelle, 429 U.S. at 106.

 

Within the context of ELelle claims, the objective component requires that the
medical need be sufficiently serious. Hunt v. Rejmolds, 974 F.2d 734, 735 (6th Cir. 1992).
“A medical need is serious if it is one that has been diagnosed by a physician as mandating
treatment or one that is so obvious that even a lay person would easily recognize the
necessity for a doctor's attention." Ramos v. Lamm, 639 F.2d 559, 575 (10th Cir.
1980)(quoting Laaman v. Helgemoe, 437 F. Supp. 269, 311 (D.N.H. 1977)).

A local governmental entity, such as a county, "is not vicariously liable under § 1983
for the constitutional torts of its agents: It is only liable when it can be fairly said that the
[county] itself is the wrongdoer." Collins v. City of I-Iarker Heights, Tex., 503 U.S. l 15 , 121
(1992). §§ a_l_s£ Jett v. Dallas Independent School Distn`ct, 491 U.S. 701, 726-29
(1989)(discussing history of civil rights statutes and concluding that Congress plainly did
not intend to impose vicarious liability on counties, municipalities or other local
governmental bodies); City of Canton, Ohio v. Harris, 489 U.S. 378, 388 (1989)(rejecting
simple vicarious liability for municipalities under § 1983); Ci§[ of St. Louis v. Praprotnik,
458 U.S. 112, 122 (1988)(interpreting rejection of respondeat superior liability by mall
v. Dept. of Soc. Serv., 436 U.S. 658, 691 (1978), as a command that “local governments
. . . should be held responsible when, and only when, their official policies cause their
employees to violate another person's constitutional rights"); Pembaur v. Citv of Cincinnati,
475 U.S. 469, 480-81 (l 986)(same); Stemlerv. City of Florence, 126 F.3d 856, 865 (6th Cir.
1997)(rejecting claims against city and county and holding that “in order to state a claim
against a city or a county under § 1983, a plaintiff must show that her injury was caused by

an unconstitutional 'policy' or 'custom' of the municipality", citing Pembaur).

 

In this case, it is clear from the complaint that plaintiff relies entirely on the fact that

he was confined in and received medical care at county institutions as the basis for his claims

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that Henry County violated his civil rights. None of the facts alleged supports an inference
that Henry County maintains a policy of deliberate indifference to serious medical needs.
Furthermore, the complaint contains no factual allegations of any action by Sheriff
Bumpus. When aplaintiff completely fails to allege any action bya defendant, it necessarily
"appears beyond doubt that the plaintiff can prove no set of facts which would entitle him
to relief." Spruj@e v. Walters, 753 F.2d 498, 500 (6th Cir. 1985). Furthermore, there is no
respondeat superior liability under § 1983. Monell, 436 U.S. at 691; Bellamy v. Bradley,
729 F.2d 416, 421 (6th Cir. 1984)(liability under § 1983 in a defendant's personal capacity

 

must be predicated upon some showing of direct, active participation in the alleged
misconduct). It is clear from the face of the complaint, even construed liberally under
Haines v. Kerner, 404 U.S. 519 (1972), that plaintiff relies entirely on the supervisory
capacity of the Sheriff at the HCJ as the sole basis for any claim that he violated plaintiffs
rights

Plaintiff does not provide any allegations demonstrating that defendant Lieutenant
Dicus was deliberately indifferent to a serious medical needs. Haynes alleges that he
suffered stomach pain after taking medication on an empty stomach. He alleges that Dicus
told him to lay down on the bed “and nothing was done to relieve him.” ln this instance,
plaintiff fails to allege that he was ever treated or required medical treatment for his stomach
pain and thus, fails to establish a serious medical need.

Furthermore, Haynes alleges that Dicus assisted with his transportation to the Henry
County Clinic after his episode of semi-consciousness. Plaintiff alleged that another officer
stated he “was out of it” at approximately seven p.m. the previous evening. He does not
allege that Dicus was on duty that evening or aware of his condition. Furthermore, after
plaintiff was transported to the clinic, no treatment was prescribed by any doctor after the
EKG was performed Plaintiff’ s allegations fails to establish either component of an ELelle

j violation by Dicus.

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Plaintiff admits received medical evaluation while at the HCJ by the defendant Nurse
Practitioner Dicus and Dr. Harrison. Plaintiff‘ s disagreement with the observations and
conclusions of the examining nurse practitioner and doctor does not convert his contentions
into Eighth Amendment claims. wgn Hatch v. Stempson, 1990 U.S. Dist. LEXIS 988,
slip op. at 4~5 (D.D.C. Jan. 31, l990)(inmate not entitled to refuse "Bufferin" and demand
"Motrin"). Federal courts will not engage in second guessing the choice of a treatment
program by medical personnel S__ee_,_§_.gi, Westlake, 537 F.2d at 860 n.4.

Even if medical personnel were negligent in their evaluation, diagnosis, and treatment
of plaintiffs injury, this would amount at most to medical malpractice “[A] complaint that
a physician has been negligent in diagnosing or treating a medical condition does not state
a valid claim of medical mistreatment under the Eighth Amendment Medical malpractice
does not become a constitutional violation merely because the victim is a prisoner.” ELelle,
429 U.S. at 105-06. The complaint simply does not allege any facts supporting a claim that
the Eighth Amendment was violated.

Accordingly, plaintiffs complaint fails to state a claim upon which relief may be
granted and is, therefore, DISMISSED pursuant to 28 U.S.C. § l915(e)(2)(B)(ii).

III. APPEAL ISSUES

The next issue to be addressed is whether plaintiff should be allowed to appeal this
decision in fpri___n_a p_a_upe_r_i,s. Twenty-eight U.S.C. § 1915(a)(3) provides that an appeal may
not be taken ip m M if the trial court certifies in writing that it is not taken in good
faith.

The good faith standard is an objective one. M Coppedge v. United States, 369 U. S.
43 8, 445 (1962). It would be inconsistent for a district court to determine that a complaint
which fails to state a claim upon which relief may be granted has sufficient merit to support

an appeal i_n forma pauperis Accordingly, the same considerations that lead the Court to

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dismiss this case for failure to state a claim also compel the conclusion that an appeal would
not be taken in good faith.

It is therefore CERTIFIED, pursuant to 28 U.S.C. § 1915(a)(3), that any appeal in this
matter by plaintiff is not taken in good faith, and plaintiff may not proceed on appeal i_n
mt nanpe_rls-

The final matter to be addressed is the assessment of a filing fee if plaintiff appeals
the dismissal of this case. The United States Court of Appeals for the Sixth Circuit has held
that a certification that an appeal is not taken in good faith does not affect an indigent
prisoner plaintiffs ability to take advantage of the installment procedures contained in §
l915(b). w McGore v. Wrigglesworth, 114 F.3d 601, 610-11 (6th Cir. 1997). film
sets out specific procedures for implementing the PLRA. Therefore, the plaintiff is
instructed that if he wishes to take advantage of the installment procedures for paying the

appellate filing fee,2 he must comply with the procedures set out in McGore and § 1915(b).

 

For analysis under 28 U.S.C. § 1915(g) of future filings, if any, by this plaintiff, this
is the second dismissal in this district of one of his cases for failure to state a claim. w

Ha)mes v. Fagan, No. 04-1262 (W.D. Tenn. Jan. 20, 2005).

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IT IS SO ORDERED this g / day of May, 2005.

    

UNIT sTATEs DI'sTRICT JUDGE

 

2 The fee for docketing an appeal is $250. §§ J udicial Conference Schedule of Fees, 11 l, Note

following 28 U.S.C. § 1913. Under 28 U.S.C. § 1917, a district court also charges a $5 feet

Upon the filing of any separate or joint notice of appeal or application for appeal or upon the receipt
of any order allowing, or notice of the allowance of, an appeal or of a writ of certiorari $5 shall be
paid to the clerk of the district court, by the appellant or petitioner.

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DISTRICT C URT - wEsTERN D"'ISRITOF TNNESSEE

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This notice confirms a copy of the document docketed as number 3 in
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371631

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Honorable .l ames Todd
US DISTRICT COURT

